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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                                           Case No. 11-20551

  JOHN GERALT, M.D. (D-19),

                     Defendant.
                                                 /

       OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR A NEW TRIAL

         On July 2, 2015, a jury found Defendant John Geralt guilty of conspiracy to

  distribute controlled substances. (Dkt. # 1160, Pg. ID 8142-43.) Now before the court

  is Defendant’s Motion for New Trial (Dkt. # 1179) which raises one ground,

  prosecutorial misconduct in rebuttal argument. For the reasons stated below, the court

  will deny the motion.

                                     I. BACKGROUND

         Defendant was indicted and tried as an alleged conspirator with two other

  defendants, Adelpho Pamatmat and Sardar Ashrafkhan. Defendant here focuses his

  central complaint upon the government’s rebuttal final argument in which government

  counsel compared Defendant’s behavior to that of another alleged co-conspirator, and

  called the jury’s attention to video and audio recorded interaction between Defendant

  and an informant in which Defendant reviewed “patient” charts relating to people he

  never saw, and wrote prescriptions mainly at the behest and direction of the informant.

  The government also argued that Tiffany Walker, a patient recruiter, “indicated that the
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  person who came for the [bogus “patient party” house call] visit was Dr. Geralt.”

  Defendant alleges in his motion that the government’s argument amounted to pervasive

  prosecutorial misconduct depriving Defendant of a fair trial. Defendant alleges that the

  government “failed to prove that Dr. Geralt entered into an agreement to distribute

  controlled substances.”

                                        II. STANDARD

         Pursuant to Federal Rules of Criminal Procedure Rule 33, “[u]pon the

  defendant’s motion, the court may vacate any judgment and grant a new trial if the

  interest of justice so requires. If the case was tried without a jury, the court may take

  additional testimony and enter a new judgment.” Fed. R. Crim. P. 33(a). “[I]t is widely

  agreed that Rule 33’s ‘interest of justice’ standard allows the grant of a new trial where

  substantial legal error has occurred.” United States v. Munoz, 605 F.3d 359, 373 (6th

  Cir. 2010).

                                       III. DISCUSSION

         No “substantial legal error” has occurred. The court has reviewed the transcript of

  the portions of the argument that Defendant refers to here, and is reminded that the

  argument was interrupted more than once by Defendant’s counsel, saying “this is not

  true,” etc. It is the court’s view that government counsel was arguing fair inferences

  from admitted facts. Counsel concluded this portion of the argument by saying “I submit

  to you, there’s the documentation,” referring to a document admitted into evidence

  bearing a notation the “Dr. Geralt” was the doctor scheduled to attend the session.

  Walker clearly explained the circumstances of the creation of the notation and its

  significance. Inferences from facts are within the province of the jury. The government’s

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  arguments referred to admitted testimony and exhibits, did not espouse personal beliefs

  or endorsements, and simply invited the jury to draw conclusions.



                                                   III. CONCLUSION

           IT IS ORDERED THAT Defendant’s Motion for a New Trial is DENIED.


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

  Dated: December 16, 2015

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, December 16, 2015, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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